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     Shari Rusk, Bar No. 170313
 1   Attorney at Law
     1710 Broadway, #111
 2   Sacramento, California 95818
     Tel: (916) 804-8656
 3   Fax: (916)731-4841
     Email: Rusklaw@aol.com
 4

 5
                       IN THE UNITED STATES DISTRICT COURT
 6
                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8                                       ) Case No.: CR.S. 07-056 LKK
     United States of America,           )
 9                                       ) STIPULATION AND ORDER TO CONTINUE
                Plaintiff,               ) STATUS CONFERENCE
10                                       )
          vs.                            ) Court: Hon. LAWRENCE K. KARLTON
11                                       ) Time:   9:30 a.m.
                                         ) Date:   July 24, 2007
12   Kelvin Banister, et.al.             )
                                         )
13              Defendants
14

15

16        Defendants Kelvin Banister, Jasmin Johnston and Natosha Saunders
17   are charged in an indictment alleging seven counts of violations of 18
18   U.S.C. §§s 371 and 1029(b)(2) – Conspiracy to Commit Fraud and Related
19   Activity in Connection with an Access Device; and 18 U.S.C. §
20   1029(a)(2) – Fraud and Related Activity in Connection with an Access
21   Device; 18 U.S.C. § 1030(a)(4) – Fraud and Related Activity in
22   Connection with Computers; and 18 U.S.C. 982(a)(2)(b), 18 U.S.C. §
23   1029(c)(1)(c) – Criminal Forfeiture.
24        A status conference was previously set for June 12, 2007.         The
25   parties are involved in defense investigation, as well as negotiations
26   and all parties request that the current status conference be
27   continued to July 24, 2007, if that date is available with the Court.
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 1        The parties agree that time should be excluded under 18 U.S.C. §

 2   3161(h)(8)(i) for defense preparation and under local code T4.

 3
     Dated: June 8, 2007               Respectfully submitted,
 4

 5
                                       __/s/ Shari Rusk___
 6
                                       Shari Rusk
                                       Attorney for Defendant
 7                                     Natosha Saunders

 8
                                       /s/ John Balazs
 9                                     John Balazs
                                       Attorney for Defendant
10                                     Jasmin Johnston
11

12                                      /s/ Jeffrey Staniels
                                       Jeffrey Staniels
13                                     Attorney for Defendant
                                       Kelvin Banister
14

15
     Dated: June 8, 2007         ___ Robin Taylor________
16
                                 /s/ Robin Taylor
                                 Assistant United States Attorney
17

18

19
                                       ORDER

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21
          IT IS SO ORDERED.   The Court finds excludable time through July

22
     24, 2007, based on Local Code T4, giving counsel reasonable time to

23
     prepare.

24
     DATED: June 11,   2007
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